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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                       x
UNITED STATES OF AMERICA,

v.
                                                             Case No. 23-CR-307 (LJL)
MICHAEL SHVARTSMAN,
GERALD SHVARTSMAN, and
BRUCE GARELICK,



                      Defendants.
                                                       x


     DECLARATION OF TAI H. PARK IN SUPPORT OF DEFENDANT MICHAEL
             SHVARTSMAN'S OMNIBUS PRE-TRIAL MOTIONS

I, Tai H. Park, declare pursuant to 28 U.S.C. § 1746 as follows:

       1.      I am the managing member of the law firm of Tai Park, PLLC, and a member in

good standing of the bar of the State of New York and this Court. I submit this Declaration in

support of Defendant Michael Shvartsman's Omnibus Pretrial Motions. The statements herein are

based on my review of documents and discussions with legal counsel referenced herein and are

true to the best of my knowledge.

       A. Government Informant Contacts with A Represented Defendant

       2.      On June 23, 2022, Mr. Shvartsman received a grand jury subpoena from the

Southern District of New York, dated June 22, 2022, and signed by Assistant U.S. Attorney

("AUSA") Nicholas Roos.

       3.      On June 24, 2022, Robert Buschel, a licensed attorney, called AUSA Roos, and

among other matters, informed the prosecutor that he was representing Mr. Shvartsman in

connection with the subpoena and any related government investigation.
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       4.      On June 30, 2022, the government subsequently served a grand jury subpoena upon

Rocket One Capital LLC, which is a company in part owned by Mr. Shvartsman ("Rocket One").

In response, Mr. Buschel emai led AUSA Roos and two of his colleagues to confirm receipt of the

new subpoena, as well as his ongoing legal representation of Mr. Shvartsman and others. A copy

of the July 1, 2022 email is attached as Exhibit A.

       5.      In late 2022, an individual was introduced to Mr. Shvartsman as someone who

could assist with asset protection structures and he later offered his services as a trustee of trusts

that Mr. Shvartsman, his family, and his affiliated companies had previously established with the

assistance of counsel. As explained below, investigation reports prepared by the government and

recently produced in discovery indicate that the individual was a government confidential

informant or cooperating witness this individual was then acting as a government informant. under

the direction of the U.S. Department of Homeland Security ("DHS") at the time he was introduced

to Mr. Shvartsman. (The individual is referred to hereinafter as "Informant")

       6.      An Initial Report of Investigation ("ROI") prepared by agents of the U.S.

Department of Homeland Security ("DHS"), and approved December 16, 2022, states that the

"investigation will be conducted to determine if SHVARTSMAN, and/or associates, conducted

illicit financial transactions in relation to the proceeds from insider trading or any other criminal

activity." A copy of the ROI is attached as Exhibit B.

       7.      On December 14, 2022, Informant, equipped with a recording device, met with Mr.

Shvartsman at a Miami Airport hotel to discuss Mr. Shvartsman's interest in asset protection. A

copy of an ROI dated December 21, 2022 is attached as Exhibit C.




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       8.      As reflected in an ROI dated March 7, 2023, the government was aware of, and

appeared to monitor, the progress of a parallel investigation by the Securities and Exchange

Commission ("SEC") into insider trading allegations. A copy of the ROI is attached as Exhibit D.

       9.      On March 15, 2023, Informant secretly recorded a meeting he had with Mr.

Shvartsman and others at his office in Aventura, Florida. Also present for the meeting was Michael

Park, general counsel to Rocket One who also served as counsel to Mr. Shvartsman on his personal

transactional matters. In this meeting, the participants engaged in discussions regarding DWAC

and Trump Media Group, among other matters. A copy of the ROI, dated March 20, 2023,

memorializing these discussions is attached as Exhibit E. A copy of the transcript of the recording

made by Informant is attached as Exhibit F.

       10.     The ROI and transcript of the recorded conversations reflect that during this

meeting, Mr. Shvartsman at one point stepped away. Informant then obtained attorney Michael

Park's impressions regarding the SEC's investigation that could only have been derived from

attorney client discussions involving Mr. Shvartsman. See Exhibit F.

       11.     On April 13, 2023, Grant Smith. an attorney representing Mr. Shvartsman and

another company affiliated with Mr. Shvartsman, Rocket X Capital. LLC., spoke with AUSA

Michael Berger of the Southern District of Florida. to inquire about a grand jury subpoena that his

office had served. During this conversation, Mr. Smith informed the AUSA that he represented

Michael Shvartsman and Rocket X. A copy of the Florida subpoena is attached as Exhibit G.

       12.     On April 28, 2023. informant again secretly recorded a meeting he had with Mr.

Shvartsman and Michael Park at a lunch meeting at a restaurant in Miami. According to a

transcript of what appears to be Informant' oral summary of this meeting that he appears to have




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dictated, Informant asked Mr. Shvartsman "if there were any issues in relation to the SEC in any

assets that we're going to be moving." A copy of that summary is attached as Exhibit H.

        13.     Two months later, on June 26, 2023, a federal grand jury in the Southern District

of New York returned a sealed indictment against Mr. Shvartsman and his co-defendants, and on

June 29, 2023, they were arrested, with the participation of the DHS agents who were involved in

preparing the above-referenced ROIs and thus appear to be the handler ofthe informant, Informant.

A copy of their ROI memorializing the arrests is attached as Exhibit I.

        14.     On July 27, 2023, continuing in his supposed role as trustee, Informant called Mr.

Shvartsman and his in-house counsel, Michael Park. Informant again inquired about the SEC

investigation and Mr. Shvartsman explained that the assets he is seeking to protect do not relate to

his insider trading arrest. A copy of the transcript of this call is attached as Exhibit J.

        15.     Thereafter, Informant repeatedly initiated contact with Mr. Shvartsman in efforts

to engage him in discussions to further the government's investigation, including purported efforts

to secret insider trading proceeds. They spoke at least on August 1 and 9, 2023, and had a lunch

meeting in Bal Harbour, Florida on August 23, 2023. A copy of the transcripts from the August 1

and 9, 2023 phone calls are attached as Exhibit K, and a copy of the transcript from the lunch

meeting is attached as Exhibit L.

        16.     Informant's efforts to engage Mr. Shvartsman and Michael Park in discussions

continued through October and November 2023. Copies of text messages in October are attached

as Exhibit M.

       17.      On December 12, 2023, 1 was informed by prosecutors that they would be seeking

a superseding indictment in the early part of the new year (2024), adding money laundering charges

against Mr. Shvartsman, relating to his alleged efforts to secret proceeds of DWAC trading. I note



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that the DHS agent who worked with the Informant filed an affidavit in November 2023 seizing a

bank account in Oklahoma alleging DWAC proceeds were laundered through the account. A copy

of the affidavit is attached as Exhibit N. Nothing on the face of that affidavit appears to relate to

Informant or his role as trustee.

       B. Government Presentation To Grand Jury

        18.    Paragraph 12(b) of the Indictment alleges:

       After DWAC executed a letter of intent with Trump Media on or around September
       23, 2021, BRUCE GARELICK, the defendant, had several conversations with
       MICHAEL SHVARTSMAN, the defendant, in which he conveyed material non-
       public information to MICHAEL SHVARTSMAN and encouraged him to buy
       DWAC securities. The day after the letter of intent was signed, for instance,
       GARELICK texted MICHAEL SHVARTSMAN that he had "intelligence to
       share with you." GARELICK and MICHAEL SHVARTSMAN subsequently
       spoke, and on or about October 1, 2021, once DWAC warrants began trading on
       the Nasdaq exchange, MICHAEL SHVARTSMAN purchased 2,000,000 DWAC
       warrants over three days." (Emphasis added)

       19.     The actual text, a copy of which is attached as Exhibit 0, reveals that the

"intelligence" had nothing to do with DWAC or Trump Media Group, but was instead tied to a

conversation with an unrelated individual and a different business transaction:

       10:53 AM: Bruce Garelick: 1 spoke with Steve at Altmore (guy that was supposed to be on
       the zoom at 10a.m). Have some good intelligence to share with you.

        10:57 AM: Michael Shvartsman: Ok call you soon

Exhibit 0.


       20.     In response to a detailed letter from me to the government seeking discovery, the

government sent a letter dated October 23, 2023 providing its position as to various items of

discovery. In the section on Brady obligations, the government stated:

               While not conceding that this information qualifies as Brady material, in light of
               your request that the Government identify any information that calls into
               question any of the factual allegations in the Indictment, and upon additional


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              investigation and review of materials produced in discovery, the Government
              informs you that text messages surrounding the September 24, 2021 text message
              from Garelick to Michael Shvartsman where Garelick states he has "intelligence
              to share with" Shvartsman, Indictment ¶ 12(b), suggest that Garelick's
              statement may refer to a conversation that Garelick had with "Steve at
              Altmore," and may not have been in reference to information regarding
              DWAC. Compare, e.g., SDNY_01_00397526 with SDNY_01_00821901.

A copy of the government letter is attached hereto as Exhibit P.



       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

Executed on: December 22, 2023




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